                   Case 1:21-cr-00123-PLF                       Document 108-2             Filed 09/22/22                     Page 1 of 10
                                                                                                     Ii·I
                                                                                         � Original
                                                                                                         !t                  □ Duplicate Original
AO 93C (08/18) Warrant by Telephone or Other Reliable Electronic Means                                   i[
                                                                                                         iiIf
                                           UNITED STATES DISTRICT COIDRT
                                                                    ,                                         ..

                                                                             for the                     I
                                                                                                         i
                                                                    District of Columbia                 !
                                                                                                         11
                  In the Matter of the Search of                                )
                                                                                                         I!
              (Briefly describe the property to be searched                     )
                                                                                                         lll �
               or identiJy the person by name and address)                      )      Case No. 21-SW-8
                                                                                                       I
                                                                                )                     :i
                                                                                )                     q
                          UNDER RULE 41                                                               ii
                                                                                )                     11
                                                                                                             ii
                  WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
                                                                                                             !I
To:       Any authorized law enforcement officer                                                             ii:i
                                                                                                             it
         An application by a federal law enforcement officer or an attorney for the govenilnent requests the search and seizure
of the following person or property located in the   _________ District ofi
(identify the person or describe the property to be searched and give its location):
                                                                                                                i
                                                                                                           Columbia

  See Attachment A (incorporated by reference)

                                                                                                             li
                                                                                                             lI
                                                                                                             11
                                                                                                             1/
                                                                                                             !j
                                                                                                             1,
        I find that the affidavit(s), or any recorded testimony, establish probable cause to1$earch and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to oJseized):
                                                                                                    I!
 See Attachment B (incorporated by reference)



                                                                                                              I!i'/
                                                                                                              ii
                                                                                                              !!
                                                                                                              :;

         YOU ARE COMMANDED to execute this warrant on or before         Februaty 1, 2021        (not to exceed 14 days)
      rA in the daytime 6:00 a.m. to 10:00 p.m.
                                        0 at any time in the day or night becau�e good cause has been established.

        Unless delayed notice is authorized below, you must give a copy of the warrant a�d a receipt for the property taken to the
person from whom, or from whose premises, the prnperty was taken, or leave the copy anp; receipt at the place where the
property was taken.                                                                     ;,
        The officer executing this warrant, or an officer present during the execution of ttj� warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to      G. Michael Harvey, U.S. Magistrate Judge
                                                                                                      (Unit�'d States Magistrate Judge)
                                                                                             11
     0 Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an '.dverse
                                                                                              '      result listed in 18 U.S.C.
§ 2705 (except for delay of tria9, and authorize the officer executing this warrant to delay�potice to the person who, or whose
            _
property, will be searched or seized (check the appropriate box)
                              .
     0 for -- days (not to exceed   30) 0 until, the facts justifying, the later specific datJ of
                                                                                                                   I!
Date and time issued:         01/18/2021
                                                                                                                   II             Digitally signed by G. Michael Harvey
                                                                                                                                  Date: 2021.01.18 10:36:23 -05'00'
                                                                                                                        Judge's signature

City and state:     Wash_in�g�to_n�,_D_._C_. _________                                       G. Michael H�rvey, U.S. Magistrate Judge
                                                                                                                   'Printed name and title
                   Case 1:21-cr-00123-PLF                       Document 108-2           Filed 09/22/22          Page 2 of 10

AO 93C (08/18) Warrant by Telephone or Other Reliable Electronic Means (Page 2)

                                                                             Return
Case No.:                       Date and time warrant executed:                          Copy of warrant and inventory left with:
               21- SW-8          If Ia-- -A. d-_ I    I ·. c.) (vy_        >                   fVu   CA.A,.-<-   f,.ef..,,.__,_ f-
Inventory made in the presence of:

Inventory of the property taken and name(s) of any person(s) seized:




                                                                         Certification


        I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.
                        Case 1:21-cr-00123-PLF                               Document 108-2   Filed 09/22/22   Page 3 of 10
FD-597 (Rev 8-1Hl4)                                                                                                           of�{__


                                                   UNITED STATES DEPARTMENT OF JUSTICE
                                                     FEDERAL BUREAU OF INVESTIGATION
                                               Receipt for Property Received/Returned/Released/Seized




       On (date) -----+-/__,,__(�T'--1--"--'
                                       w                         c ----+-/--------
                                            "'----'-'-'a..........=,...•2,                                     itenj_s) Listed below were:
                                                                                                               [!:]Received From
                                                                                                               □    Returned To
                                                                                                               □    Released To
                                                                                                               □   Seized
             1 I ltf
   (Name)--'-v-;-
             "-----------------------------------
   (Street Address                                   -                       •    I   Pl




  Received By:            1?x,,,.,?-P;·� -­'     (Signature)
                                                                                 Received From:
                                                                                                                (Signature)
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                                    ATTACHMENT A

                                  Property to be searched

       The property to be searched is

WASHINGTON, D.C. (the "PREMISES"), further described as a two-story red brick row house.

The front door is white with a black metal storm door with the numerals - affixed to the white

front door.
                                                                          !l
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                                        ATTACHMENT B

                                        Property to be seized
                                                                              !
       1.      The items to be seized are fruits, evidence, infoimation,
                                                                   i!
                                                                             contraband, or
                                                                   !i
instrumentalities, in whatever form and however stored, relating tq!violations of 18 U.S.C.

§ 1752(a)(l)-(2) and (b)(l)(A) (Knowingly Entering or Remaining in i�y Restricted Building or
                                                                   ii
Grounds without Lawful Authority while Using or Carrying a Danger+rs Weapon), 18 U.S.C. §
                                                                   !l
111 (Assaulting a Federal Agent), 18 U.S.C. § 231 (Civil Disof�ers), 18 U.S.C. § 371
                                                                   q_     !1

(Conspiracy), 18 U.S.C. § 930 (Possession of Firearms and DangeH>us Weapons in Federal
                                                                          \f


Facilities), 18 U.S.C. § 1512 (Obstruction of Congress), and 4d!!f U.S.C. § 5104(e)(2)(D)

                                                                         JJ described in the search
                                                                          '1

(Knowingly Engaging in Disorderly Conduct on Capitol Grounds),

warrant affidavit, including, but not limited to:

            a. Black in color handheld Taser and/or any evidence of po�session of such a Taser;
                                                                          II
            b. Any paperwork, memorabilia, artwork, or other items ta�en from the U.S. Capitol

               grounds on January 6, 2021;
                                                                          ii
                                                                  !!ii
                                                                  !i
            c. Clothing matching that worn during the offenses as ijepicted/described in the

               affidavit;
                                                                   11
                                                                   ii
            d. Any records and information relating to a conspiracyj Ito illegally enter and/or
                                                                     I
                                                                              I
               occupy the U.S. Capitol Building on or about January 6, t021;

            e. Information that constitutes evidence concerning the bre ich and unlawful entry of
                                                                          1

               tho Unitod States Capitol, and any conspiracy or plan to �o so, on January 6, 2021;

            f. Information that constitutes evidence concerning the riot �nd/or civil disorder at the
                                                                              I
               United States Capitol on January 6, 2021;                      II
                                                                               I
                                                                              ;
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                                                               ')


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                                                               l




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                                                               11

     g. Information that constitutes evidence concerning the assaults of federal

        officers/agents (including MPD Officer Fanone) and eff�rts to impede such federal
                                                                ii
        officers/agents in the performance of their duties at thqlUnited States Capitol on
                                                                il
                                                                :t
                                                                '1
        January 6, 2021;
                                                                !t.
     h. Information that constitutes evidence concerning the ob�tuction of proceedings by
                                                                ii
                                                                !!


        and before the U.S. Congress at the United States Capitc}i on January 6, 2021;
                                                                !j
                                                                ii

     i. Information that constitutes evidence concerning damag� to property at the United

        States Capitol on January 6, 2021;

    j. Information that constitutes evidence of any conspirac�t planning, or preparation
                                                                iI'i
        to commit those offenses;                               ii
                                                                !i
     k. Information that constitutes evidence concerning effortN after the fact to conceal
                                                                  II
        evidence of those offenses, or to flee prosecution for the tame;
                                                                  l
     1. Records and information that constitute .evidence of us�, control, ownership, or
                                                              qii
        occupancy of the PREMISES and things therein;          iij
                                                               ii
                                                                !1
     m. Records and information that constitute evidence of thei state of mind of VITALI
                                                               !!
        GOSSJANKOWSK.I, e.g., intent, absence of mistak�{ or evidence indicating

        preparation or planning, or knowledge and experiencJl related to the criminal
                                                            !!
                                                                !i
        activity under investigation;                           l
                                                                I
    n. Records and information that constitute evidence conce
                                                              I i g persons who either (i)
                                                              nwi
                                                                !i
        collaborated, conspired, or assisted (knowingly or unknijwingly) the commission
                                                                 ,!

        of the criminal activity under investigation; or (ii) co�unicated with VITALI
                                                                'I
                                                                ii
                                                                ll
                                                                ,,!!ii
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                                                                :!'
                                                                 ii
Case 1:21-cr-00123-PLF         Document 108-2          Filed 09/22/22       Page 7 of 10
                                                                 !:
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                                                                   Ii
        GOSSJANKOWSKI about matters relating to the,! criminal activity under
                                                                   (f
                                                                   ll

        investigation, including records that help reveal their wilereabouts; and
                                                                 !Iii
     o. Any digital device which is capable of containing an� reasonably could contain

        fruits, evidence, information, contraband, or instrumeJialities as described in the
                             .                                 ii
                                                               !�
        search warrant affidavit and above, hereinafter the "Deyice(s"). For such devices,
                                                                   d
                                                                   ti
            1.   evidence of who used, owned, or controlled th� Device(s) at the time the

                 things described in this warrant were created, �dited, or deleted, such as

                 logs, registry entries, configuration files, saved �•
                                                                  runes and passwords,
                                                              �
                                                            �
                 documents, browsmg history, user profiles,  at!, ematl contacts, cha�
                                                                   ii
                 instant messaging logs, photographs, and corres_P,ondence;
                                                                   !l
                                                                   it
           ii. evidence of software, or the lack thereof, that would allow others to control
                                                                   !I!f
                 the Device(s), such as viruses, Trojan horses, a�g other forms of malicious
                                                                   il
                 software, as well as evidence of the presence or aHsence of security software
                                                                   11
                 designed to detect malicious software;            lt
                                                                   llj!
                                                                    !1
          111.   evidence of the attachment to the Device(s) o other storage devices or
                                                                        I
                                                                        I
                 similar containers for electronic evidence;

          iv. evidence of counter-forensic programs (and �ssociated data) that are
                                                             ,!iij
                                                             il
              designed to eliminate data from the Device(s); Ifii
                                                                   it
                                                                   !!
                                                                   ii
           v. evidence of the times the Device(s) was used;        ti

                                                                   ii11
          vi. passwords, encryption keys, and other access devices that may be necessary
                                                                    I
                                                              If



                 to access the Device(s);
                                                                           :!
    Case 1:21-cr-00123-PLF             Document 108-2          Filed 09/22/22       Page 8 of 10




                     vu. documentation and manuals that may be necessa to access the Device(s)
                                                                      iill
                         or to conduct a forensic examination of the Devi�e(s);
                                                                           ii
                                                                           q
                 viii. records of or information about Internet Proto6bl addresses used by the
                                                                           if
                                                                           Ii_
                         Device(s);                                        11
                                                                           ii
                     ix. records of or information a.bout the Device(s)'s ihternet activity, including
                                                                           II
                         firewall logs, caches, browser history and c��kies, "bookmarked" or
                                                                         I!
                         "favorite" web pages, search terms that the uset; !entered into any Internet
                                                                          t_
                                                                         ii
                         search engine, and records of user-typed web addresses.
                                                                           :!
                                                                           il
                                                                           !l
                                                                           il
                                                                           !I
During the execution of the search of the PREMISES described in Attacihnent
                                                                     ii
                                                                            A, law enforcement
                                                                           ii
                                                                           ii
personnel are also specifically authorized to obtain from GOSSJANK.q>;wsKI (but not any other
                                                                    !i
individuals present at the PREMISES at the time of execution of t�J warrant) the compelled
                                                                           I!
                                                                           ii
display of any physical biometric characteristics (such as fingbn,rint/thumbprint, facial
                                                                           !I
characteristics, or iris display) necessary to unlock any Device(s) requiqng such biometric access
                                                                         !Id
subject to seizure pursuant to this warrant for which law enforcement ha�!reasonable suspicion that
                                                                           ii

the aforementioned person's physical biometric characteristics will i{m1ock the Device(s), to
                                                                           !�
                                                                           :i
include pressing fingers or thumbs against and/or putting a face before the sensor, or any other

security feature requiring biometric recognition of:

               (a)       any of the Device(s) found at the PREMISES,

               (b)       where the Device(s) are limited to those which ,.re capable of containing
                                                                           II
                         and reasonably could contain fruits, evidence, 1.:0. rmation, contraband, or




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                                                                      ii
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                                                                        11!I!r
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                                                                        1,
                                                                        ;;if
                      instrumentalities of the offense(s) as describe'd in the search warrant
                                                                        '
                                                                        \f

                                                                        I

                      affidavit and warrant attachments,
                                                                        i

for the purpose of attempting to unlock the Device(s)'s security featiires in order to search the
                                                                        I·

contents as authorized by this warrant.

       While attempting to unlock the device by use of the comp�Jled display of biometric
                                                                       ti
                                                                       il
characteristics pursuant to this warrant, law enforcement is not auth�rized to demand that the
                                                                       ,I
aforementioned person(s) state or otherwise provide the password or idelttify the specific biometric

characteristics (including the unique finger(s) or other physical fea�tes), that may be used to

unlock or access the Device(s). Nor does the warrant authorize law eaforcement to use the fact
                                                                        IIlj
that the warrant allows law enforcement to obtain the display of any �iometric characteristics to
                                                                        !i
                                                                        ii
compel the aforementioned person(s) to state or otherwise provide that i;q.formation. However, the
                                                                        it
                                                                        !1
voluntary disclosure of such information by the aforementioned persoti(s) is permitted. To avoid
                                                                         Irii
confusion on that point, if agents in executing the warrant ask any ofthd �forementioned person(s)
                                                                        I!
for the password to any Device(s), or to identify which biometric c�racteristic (including the

unique finger(s) or other physical features) unlocks any Device(s), tJ! agents will not state or
                                                                        I!
otherwise imply that the warrant requires the person to provide such i4formation, and will make
                                                                       !,
clear that providing any such information is voluntary and that the p��son is free to refuse the
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                                                                       i�
request.                                                               1,
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       As used above, the terms "records" and "information" includ�� all forms of creation or
                                                                            !i-
                                                                            ll
storage, including any form of computer or electronic storage (such as jhard disks or other media
                                                                       I!I'.
that can store data); any handmade form (such as writing); any mechan·bal I
                                                                             form (such as printing
                                                                       i
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                                                                     �          Page 10 of 10


                                                                       I
                                                                       II
                                                                       !(




or typing); and any photographic form (such as microfilm, microficq�,
                                                                   \t
                                                                      prints, slides, negatives,
                                                                       ,t
                                                                       1,
videotapes, motion pictures, or photocopies).
                                                                     Il
       The term "digital devices" includes any electronic system or qyvice capable of storing or
                                                                        !i

processing data in digital form, including central processing units; �esktop
                                                                     !(
                                                                             computers, laptop

computers, notebooks, and tablet computers; personal digital assistants; wireless communication
                                                                        i�


devices, such as telephone paging devices, beepers, mobile telephone&; and smart phones; digital
                                                                        !,,l
cameras; peripheral input/output devices, such as keyboards, printers, s�anners, plotters, monitors,
                                                                         ,!
and drives intended for removable media; related communications Hevices, such as modems,
                                                                           II
routers, cables, and connections; storage media, such as hard disk drives, floppy disks, USB flash
                                                                           ll
drives, memory cards, optical disks, and magnetic tapes used to store di�ital data (excluding analog
                                                                           ti
tapes such as VHS); security devices; and any other type of eledtronic, magnetic, optical,
                                                                           I!
electrochemical, or other high speed data processing devices perfomijng logical, arithmetic, or
                                                                    :;
storage functions.
